23-12055-shl        Doc 112        Filed 02/15/24 Entered 02/15/24 15:55:39           Main Document
                                                Pg 1 of 13



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :   Chapter 11
                                                                :
RUDOLPH W. GIULIANI                                             :   Case No. 23-12055 (SHL)
a/k/a RUDOLPH WILLIAM GIULIANI,                                 :
                                                                :
                           Debtor.                              :
--------------------------------------------------------------- x
                     DECLARATION OF RACHEL BIBLO BLOCK
                 IN SUPPORT OF THE OBJECTION OF THE OFFICIAL
              COMMITTEE OF UNSECURED CREDITORS OF RUDOLPH
              W. GIULIANI TO THE DEBTOR’S AMENDED APPLICATION
          FOR RETENTION AND EMPLOYMENT OF CAMARA & SIBLEY, LLP
         AS SPECIAL LITIGATION COUNSEL EFFECTIVE DECEMBER 21, 2023

         Under 28 U.S.C. § 1746, I, Rachel Biblo Block, declare as follows under the penalty of

perjury:

         1.       I am an attorney admitted to practice in the States of Delaware and Texas, and I

have been admitted pro hac vice in connection with the above-captioned case.

         2.       I am a counsel at the firm of Akin Gump Strauss Hauer & Feld LLP (“Akin”). Akin

maintains offices at, among other places, One Bryant Park, New York, New York 10036. There

are no disciplinary proceedings pending against me.

         3.       I am duly authorized to make this declaration on behalf of the Official Committee

of Unsecured Creditors in support of the Objection of the Official Committee of Unsecured

Creditors of Rudolph W. Giuliani to the Debtor’s Amended Application for Retention and

Employment of Camara & Sibley, LLP as Special Litigation Counsel Effective December 21, 2023,

filed contemporaneously herewith.

         4.       Attached hereto as Exhibit A, Exhibit B and Exhibit C are true and correct copies

of email correspondence among Berger, Fischoff, Shumer, Wexler & Goodman, LLP, proposed

counsel to the Debtor, and Akin, proposed counsel to the Committee.
23-12055-shl    Doc 112     Filed 02/15/24 Entered 02/15/24 15:55:39            Main Document
                                         Pg 2 of 13



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.


       Executed on February 15, 2024, in Dallas, Texas.


                                                    Respectfully submitted,



                                                    /s/ Rachel Biblo Block
                                                    Rachel Biblo Block




                                                2
23-12055-shl   Doc 112   Filed 02/15/24 Entered 02/15/24 15:55:39   Main Document
                                      Pg 3 of 13



                                   EXHIBIT A

                   Email Correspondence Dated January 29, 2024
       23-12055-shl       Doc 112      Filed 02/15/24 Entered 02/15/24 15:55:39                Main Document
                                                    Pg 4 of 13



From:                             Biblo Block, Rachel
Sent:                             Monday, January 29, 2024 2:19 PM
To:                               'Gary Fischoff'
Cc:                               Dublin, Philip; Qureshi, Abid; Danovitch, Amelia
Subject:                          Giuliani - Retention Applications


Hi Gary,

I’m circling back from our call last week on the retention applications with a list of follow-up questions and comments so
that everything is in one place.

    1. Declarations from Legal Defense Funds
           We saw the declarations that were filed today in connection with the amended ABK application.
           The second page of the Menges declaration has words cut off. Can you file a version that includes the
              full second page?
           The Menges declaration includes a waiver of all reimbursement and/or indemnification rights with
              respect to legal fees already paid on behalf of the debtor but did not waive such rights with respect to
              future fees and expenses. That waiver should be added, and paragraph 4 should be clear that any
              future “financing” is also included in that waiver. Can you confirm another Menges declaration will be
              filed in connection with the C&S application.
           Andrew’s declaration seems to include a waiver of all reimbursement rights with respect to legal fees
              already paid on behalf of the debtor (see paragraphs 3 and 5), but it’s not clear that waiver is also
              forward looking and that the legal defense fund will waive its claims against the debtor/estate. That
              should be updated to be clear that the waiver covers previously paid amounts and amounts that may be
              paid in the future (waiving reimbursement and indemnification rights). Can you confirm another
              declaration from Andrew will be filed in connection with the C&S application.
           With respect to both legal defense funds, the declarations should include information regarding who
              runs the funds and their affiliations with the debtor, donors and their donation history, and on what the
              donations have been spent.
    2. ABK Retention Application
           Have you heard back from ABK on a budget and whether the $500 rate applies to partners (not “all
              attorneys”)?
           It looks like the retainer agreement concept was removed from the amended application. Can you
              confirm.
           Will ABK still be working with a co-counsel in the Georgia criminal case? If so, then whom will that be
              and can ABK confirm in the declaration there will be no duplication of services.
           In the proposed order,
                    The Bankruptcy Code reference should be 327(e).
                    Language should be added that mirrors the language in the application that any third party that
                        pays ABK’s fees on behalf of the debtor will waive any claim against the debtor/estate in
                        connection therewith.
    3. C&S Retention Application
           Once ready, can you provide the draft amended declaration with the additional disclosures concerning
              the other matters on which C&S represents the debtor?
           I know you are tracking down the missing information in the draft amended declaration concerning
              C&S’s 2023 rates and the retention terms.
           In the proposed order,
                    The Bankruptcy Code reference should be 327(e).
                                                            1
          23-12055-shl          Doc 112         Filed 02/15/24 Entered 02/15/24 15:55:39                 Main Document
                                                             Pg 5 of 13
                      Language should be added that any third party that pays C&S’s fees on behalf of the debtor will
                        
                      waive any claim against the debtor/estate in connection therewith.
    4. Other Retention Applications
           What is the name of the broker for the debtor’s NYC apartment, and when do you expect to file that
              retention application?
           What is the name of ABK’s co-counsel in the Georgia state criminal case, and when do you
              expect to file that retention application?
           When do you expect to file your firm’s retention application?

We appreciate your help on this and are happy to discuss.

Thanks,

Rachel

Rachel Biblo Block
Akin
2300 N. Field Street | Suite 1800 | Dallas, TX 75201 | USA | Direct: +1 214.969.2736 | Internal: 12736
Fax: +1 214.969.4343 | rbibloblock@akingump.com | akingump.com | Bio
Pronouns: she/her/hers (What's this?)




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23-12055-shl   Doc 112   Filed 02/15/24 Entered 02/15/24 15:55:39   Main Document
                                      Pg 6 of 13



                                   EXHIBIT B

       Email Correspondence Dated February 2, 2024 Through February 13, 2024
          23-12055-shl           Doc 112         Filed 02/15/24 Entered 02/15/24 15:55:39       Main Document
                                                              Pg 7 of 13



From:                                       Biblo Block, Rachel
Sent:                                       Tuesday, February 13, 2024 5:14 PM
To:                                         Heath Berger; Gary Fischoff
Cc:                                         Dublin, Philip; Qureshi, Abid; Hill, David
Subject:                                    RE: Giuliani - Legal Defense Funds


Heath and Gary,

We are circling back again on the information requests below. Can you please respond with when we will receive the
information or otherwise provide an update on efforts to collect the information.

Thanks,

Rachel

Rachel Biblo Block
Akin
Direct: +1 214.969.2736 | Internal: 12736
Pronouns: she/her/hers (What's this?)



From: Biblo Block, Rachel
Sent: Thursday, February 8, 2024 1:45 PM
To: 'Heath Berger' <hberger@bfslawfirm.com>; Gary Fischoff <gfischoff@bfslawfirm.com>
Cc: Dublin, Philip <pdublin@AkinGump.com>; Qureshi, Abid <aqureshi@AkinGump.com>; Hill, David
<dhill@akingump.com>
Subject: RE: Giuliani - Legal Defense Funds

Thanks Heath, please send over the original. With respect to the debtor’s intent to proceed with the Biden lawsuit and
the Dunphy lawsuit, the UCC reserves all rights regarding lifting the stay and otherwise, but how would the debtor’s
attorneys in those cases be paid if the lawsuits did proceed?

Can you provide an update as to when we can expect to receive the other information that we have requested?

As flagged below, please send us any follow-up information and documents that you are sending to Andrea based on
filings, as a result of the section 341 meeting or otherwise. Also, what is the plan with respect to the debtor obtaining
homeowners insurance?


Rachel Biblo Block
Akin
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Pronouns: she/her/hers (What's this?)



From: Heath Berger <hberger@bfslawfirm.com>
Sent: Monday, February 5, 2024 11:21 AM
To: Biblo Block, Rachel <rbibloblock@akingump.com>; Gary Fischoff <gfischoff@bfslawfirm.com>
Cc: Dublin, Philip <pdublin@AkinGump.com>; Qureshi, Abid <aqureshi@AkinGump.com>; Hill, David
                                                                        1
         23-12055-shl         Doc 112        Filed 02/15/24 Entered 02/15/24 15:55:39                       Main Document
                                                          Pg 8 of 13
<DHill@akingump.com>
Subject: RE: Giuliani - Legal Defense Funds


**EXTERNAL Email**

See below for responses to disclosure.

Thanks

Heath




         Heath S. Berger, Esq.
Berger, Fischoff, Shumer, Wexler & Goodman, LLP
6901 Jericho Turnpike, Suite 230
Syosset, New York 11791
(516) 747-1136
Fax - (516) 747-0382
hberger@bfslawfirm.com
visit our website at
www.bfslawfirm.com
www.bfsfamilylaw.com
www.bfsbankruptcy.com



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filtering process may result in such reply being quarantined (i.e., potentially not received at our site at all) and/or delayed in reaching
us. For that reason, we may not receive your reply and/or we may not receive it in a timely manner. Accordingly, you should
consider sending communications to us which are particularly important or time-sensitive by means other than e-mail.




From: Biblo Block, Rachel <rbibloblock@akingump.com>
Sent: Saturday, February 03, 2024 9:01 AM
To: Gary Fischoff <gfischoff@bfslawfirm.com>; Heath Berger <hberger@bfslawfirm.com>
Cc: Dublin, Philip <pdublin@AkinGump.com>; Qureshi, Abid <aqureshi@AkinGump.com>; Hill, David
<DHill@akingump.com>
Subject: RE: Giuliani - Legal Defense Funds

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          23-12055-shl           Doc 112    Filed 02/15/24 Entered 02/15/24 15:55:39                  Main Document
                                                         Pg 9 of 13

Gary and Heath,

I’m supplementing my email below with additional follow-up items from our call yesterday.

     With respect to retention applications, please provide:
      Any additional information provided to the UST.
      Formation /organization documents for Giuliani Defense (those do not appear to be online).
      ABK’s response to a budget.
      The full as-filed Menges declarations (the text on the second page is cut off).
      Contact information for each of the two legal defense funds (the declarant / affidavit, their counsel) (I know you
        are reaching out to ask them about this).

     With respect to financial disclosure filings, please provide:
      The full bank statement attached to the MOR (the last page is blacked out) – The last page is blank,
        unfortunately the paper is powder blue and comes out black when copied. I can provide the original if you like
      Information regarding the debtor’s intention with his lawsuit against President Biden (seeking to lift the stay,
        etc.) –Spoke to attorney. We will be making a motion for relief from stay to pursue the action. A motion has
        been filed to dismiss the case
      Information regarding the debtor’s intention with Ms. Dunphy’s lawsuit (seeking to lift the stay, etc.).The debtor
        believes that there is no basis for this claim and we will seek relief to file a motion to dismiss
      More information about the debtor’s claim against former President Trump (with a call to discuss early next
        week).We can discuss

Also, we did not cover this on the call, but is there a plan to sell the debtor’s house in Florida?

Please note that we are likely to have additional questions.

Thanks,

Rachel

Rachel Biblo Block
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Direct: +1 214.969.2736 | Internal: 12736
Pronouns: she/her/hers (What's this?)



From: Biblo Block, Rachel
Sent: Friday, February 2, 2024 11:43 AM
To: 'Gary Fischoff' <gfischoff@bfslawfirm.com>; Heath Berger <hberger@bfslawfirm.com>
Cc: Dublin, Philip <pdublin@AkinGump.com>; Qureshi, Abid <aqureshi@AkinGump.com>; Hill, David
<dhill@akingump.com>
Subject: Giuliani - Legal Defense Funds

Gary and Heath,

I will send a complete list of all the follow-up items from our call this morning but am circling back now to again request
bank, account, and financial statements and any other applicable records with respect to the legal defense funds that
show who made donations to the funds, how much money each fund has, and where the money has gone since
formation. Please let us know when we will receive this information or whether we should seek relief from the
Bankruptcy Court to get this information.

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          23-12055-shl          Doc 112         Filed 02/15/24 Entered 02/15/24 15:55:39                 Main Document
                                                            Pg 10 of 13

Thanks,

Rachel

Rachel Biblo Block
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Fax: +1 214.969.4343 | rbibloblock@akingump.com | akingump.com | Bio
Pronouns: she/her/hers (What's this?)

This email message was sent from Akin Gump Strauss Hauer & Feld LLP. The information contained in this e-mail
message is intended only for the personal and confidential use of the recipient(s) named above. If you have received this
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23-12055-shl   Doc 112   Filed 02/15/24 Entered 02/15/24 15:55:39   Main Document
                                     Pg 11 of 13



                                   EXHIBIT C

                   Email Correspondence Dated February 3, 2024
          23-12055-shl           Doc 112         Filed 02/15/24 Entered 02/15/24 15:55:39             Main Document
                                                             Pg 12 of 13



From:                                       Biblo Block, Rachel
Sent:                                       Saturday, February 3, 2024 9:01 AM
To:                                         Gary Fischoff; Heath Berger
Cc:                                         Dublin, Philip; Qureshi, Abid; Hill, David
Subject:                                    RE: Giuliani - Legal Defense Funds


Gary and Heath,

I’m supplementing my email below with additional follow-up items from our call yesterday.

     With respect to retention applications, please provide:
      Any additional information provided to the UST.
      Formation /organization documents for Giuliani Defense (those do not appear to be online).
      ABK’s response to a budget.
      The full as-filed Menges declarations (the text on the second page is cut off).
      Contact information for each of the two legal defense funds (the declarant / affidavit, their counsel) (I know you
        are reaching out to ask them about this).

     With respect to financial disclosure filings, please provide:
      The full bank statement attached to the MOR (the last page is blacked out).
      Information regarding the debtor’s intention with his lawsuit against President Biden (seeking to lift the stay,
        etc.).
      Information regarding the debtor’s intention with Ms. Dunphy’s lawsuit (seeking to lift the stay, etc.).
      More information about the debtor’s claim against former President Trump (with a call to discuss early next
        week).

Also, we did not cover this on the call, but is there a plan to sell the debtor’s house in Florida?

Please note that we are likely to have additional questions.

Thanks,

Rachel

Rachel Biblo Block
Akin
Direct: +1 214.969.2736 | Internal: 12736
Pronouns: she/her/hers (What's this?)



From: Biblo Block, Rachel
Sent: Friday, February 2, 2024 11:43 AM
To: 'Gary Fischoff' <gfischoff@bfslawfirm.com>; Heath Berger <hberger@bfslawfirm.com>
Cc: Dublin, Philip <pdublin@AkinGump.com>; Qureshi, Abid <aqureshi@AkinGump.com>; Hill, David
<dhill@akingump.com>
Subject: Giuliani - Legal Defense Funds

Gary and Heath,

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          23-12055-shl          Doc 112         Filed 02/15/24 Entered 02/15/24 15:55:39                 Main Document
                                                            Pg 13 of 13

I will send a complete list of all the follow-up items from our call this morning but am circling back now to again request
bank, account, and financial statements and any other applicable records with respect to the legal defense funds that
show who made donations to the funds, how much money each fund has, and where the money has gone since
formation. Please let us know when we will receive this information or whether we should seek relief from the
Bankruptcy Court to get this information.

Thanks,

Rachel

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